 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              Dorian Deaver
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Eastern
 United States Bankruptcy Court for the: ______________________              MI
                                                                District of __________
                                                                             (State)
 Case number            20-50981-sjs
                        ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                    12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


                   U.S. Bank Trust National Association, et al
 Name of creditor: _______________________________________                                                             2
                                                                                           Court claim no. (if known): __________________

 Last 4 digits of any number you use to
                                                          3938____ ____ ____
                                                          ____
 identify the debtor’s account:

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 q
 x      No
 q      Yes. Date of the last notice: ____/____/_____


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

      Description                                                        Dates incurred                                              Amount

  1. Late charges                                                        _________________________________                     (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________                     (2)   $ __________
  3. Attorney fees                                                       _________________________________                     (3)   $ __________
  4. Filing fees and court costs                                         _________________________________                     (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                      11/17/20 (Plan Review: $350); 12/18/20 (POC: $600)
                                                                         _________________________________                     (5)     950.00
                                                                                                                                     $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________                     (6)   $ __________
  7. Property inspection fees                                            _________________________________                     (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________                     (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________                     (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________                    (10)   $ __________
 11. Other. Specify:____________________________________                 _________________________________                    (11)   $ __________
 12. Other. Specify:____________________________________                 _________________________________                    (12)   $ __________
 13. Other. Specify:____________________________________                 _________________________________                    (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________                    (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                              Notice of Postpetition Mortgage Fees, Expenses, and Charges                                  page 1




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Debtor 1      Dorian Deaver
              _______________________________________________________                                             20-50981-sjs
                                                                                           Case number (if known) _____________________________________
              First Name      Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

  q   I am the creditor.
  q
  x   I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



             û__________________________________________________
              /s/ Michelle R. Ghidotti-Gonsalves
                 Signature
                                                                                           Date     03 23 2021
                                                                                                   ____/_____/________




 Print:          Michelle R. Ghidotti-Gonsalves
                 _________________________________________________________                 Title   AUTHORIZED AGENT
                                                                                                   ___________________________
                 First Name                      Middle Name        Last Name



 Company         Ghidotti Berger LLP
                 _________________________________________________________



 Address         1920 Old Tustin Ave
                 _________________________________________________________
                 Number                 Street
                 Santa Ana, CA 92705
                 ___________________________________________________
                 City                                               State       ZIP Code




 Contact phone    949 _____–
                 (______)     2010
                          427 _________                                                          bknotifications@ghidottiberger.com
                                                                                           Email ________________________




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2




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                                                                             INVOICE COPY
                                                                                LAW OFFICES
                                                        MCCALLA RAYMER LEIBERT PIERCE
                                                                        A LIMITED LIABILITY COMPANY

                                                                          1544 Old Alabama Road
                                                                            Roswell, GA 30076
                                                                      TELEPHONE: 770-643-7200
                                                                        TELEFAX: 770-396-8422
                                                                       TOLL FREE: 1-800-275-7171
                                                                             11/19/2020




                                                                                       Invoice Number . . . . : BR-1632510
ATTENTION:                                                                             Re . . . . . . . . . . . . . . . . . . : Dorian Deaver
Bankruptcy Department                                                                  Loan Number . . . . . .
Fay Servicing                                                                          Bankruptcy Case No : 20-50981
                                                                                       State . . . . . . . . . . . . . . . . : MI
                                                                                       District . . . . . . . . . . . . . : Eastern
                                                                                       Division . . . . . . . . . . . . : Detroit
                                                                                       Chapter: 13                              Filed: 10/26/2020
                                                                                       MRLP File Number : FAY-20-06190
                                                                                       Property Address . . . : 3760 BURNHAM               RD
                                                                                                                          Ann Arbor, MI 48108
                                                                                       Investor . . . . . . . . . . . . : NOMURA
                                                                                       Investor Loan No . . . : 351808360
Tax ID No.                                                                             Loan Type . . . . . . . . . . : CONV




FEES
        Plan Review (Recoverable)                                                                                                                             350.00
        11/17/2020          BRTMP2240726                     MRP0011                                                                1.136

                                                                                                                                         Fee Subtotal:       350.00

Total Amount Due:                                                                                                                                            350.00




                                                                      Notice Pursuant to G.R.P.C 1.5(e)
Please be advised that this firm may engage counsel that is not a member of this firm to assist in providing legal representation on your behalf, and, in doing so may
                              apportion the total fee received with such counsel in proportion to the services performed by each law firm.
 If you are not agreeable to such potential division of fees, you must notify McCalla Raymer Leibert Pierce by sending an email to BKBilling@mccalla.com within
                                                          five (5) days of date of receipt of the enclosed invoice.
                                                                         NewInvoice
             20-50981-lsg              Doc 38          Filed 03/23/21               Entered 03/23/21 18:21:07                                  Page 3 of 5
                                                                             INVOICE COPY
                                                                                LAW OFFICES
                                                        MCCALLA RAYMER LEIBERT PIERCE
                                                                        A LIMITED LIABILITY COMPANY

                                                                          1544 Old Alabama Road
                                                                            Roswell, GA 30076
                                                                      TELEPHONE: 770-643-7200
                                                                        TELEFAX: 770-396-8422
                                                                       TOLL FREE: 1-800-275-7171
                                                                             12/18/2020




                                                                                       Invoice Number . . . . : BR-1636971
ATTENTION:                                                                             Re . . . . . . . . . . . . . . . . . . : Dorian Deaver
Bankruptcy Department                                                                  Loan Number . . . . . . :
Fay Servicing                                                                          Bankruptcy Case No : 20-50981
                                                                                       State . . . . . . . . . . . . . . . . : MI
                                                                                       District . . . . . . . . . . . . . : Eastern
                                                                                       Division . . . . . . . . . . . . : Detroit
                                                                                       Chapter: 13                              Filed: 10/26/2020
                                                                                       MRLP File Number : FAY-20-06190
                                                                                       Property Address . . . : 3760 BURNHAM               RD
                                                                                                                          Ann Arbor, MI 48108
                                                                                       Investor . . . . . . . . . . . . : NOMURA
                                                                                       Investor Loan No . . . : 351808360
Tax ID No.                                                                             Loan Type . . . . . . . . . . : CONV




        PROOF OF CLAIM (RECOVERABLE)                                                                                                                          600.00
        12/18/2020      BRTMP2249759                         MRP0011                                                                1.12

                                                                                                                                         Fee Subtotal:       600.00

Total Amount Due:                                                                                                                                            600.00




                                                                      Notice Pursuant to G.R.P.C 1.5(e)
Please be advised that this firm may engage counsel that is not a member of this firm to assist in providing legal representation on your behalf, and, in doing so may
                              apportion the total fee received with such counsel in proportion to the services performed by each law firm.
 If you are not agreeable to such potential division of fees, you must notify McCalla Raymer Leibert Pierce by sending an email to BKBilling@mccalla.com within
                                                          five (5) days of date of receipt of the enclosed invoice.
                                                                         NewInvoice
             20-50981-lsg              Doc 38          Filed 03/23/21               Entered 03/23/21 18:21:07                                  Page 4 of 5
1                                   CERTIFICATE OF SERVICE
2           On March 23, 2021, I served the foregoing documents described as Notice of
3
     Postpetition Mortgage Fees, Expenses, and Charges on the following individuals by electronic
4
     means thorugh the Court’s ECF program:
5
6           COUNSEL FOR DEBTOR                    COUNSEL FOR DEBTOR
            William D. Johnson                    Christopher W. Jones
7           filing@acclaimlegalservices.com       filing@acclaimlegalservices.com
8
9           I declare under penalty of perjury under the laws of the United States of America

10   that the foregoing is true and correct.
11
                                                          /s/ Michaela Rice
12                                                        Michaela Rice

13          On March 23, 2021, I served the foregoing documents described as Notice of
14
     Postpetition Mortgage Fees, Expenses, and Charges on the following individuals by depositing
15
     true copies thereof in the United States mail at Santa Ana, California enclosed in a sealed
16
17   envelope, with postage paid, addressed as follows:

18          DEBTOR
            Dorian Deaver
19          3760 Burnham
20          Ann Arbor, MI 48108

21          CHAPTER 13 Trustee
            David Wm Ruskin
22          26555 Evergreen Rd Ste 1100
23          Southfield, MI 48076-4251

24          I declare under penalty of perjury under the laws of the United States of America
25   that the foregoing is true and correct.
26
                                                          /s/ Michaela Rice
27                                                        Michaela Rice
28




                                                     1
     20-50981-lsg     Doc 38     FiledCERTIFICATE
                                       03/23/21 Entered 03/23/21 18:21:07
                                                  OF SERVICE                         Page 5 of 5
